        Case 1:21-cv-03316-RJL Document 6-1 Filed 02/15/22 Page 1 of 7




                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA

ALEX EMRIC JONES,                        :
                                         :
               Plaintiff,                :   Dkt. No.: 1:21-cv-03316-CRC
                                         :
v.                                       :
                                         :
SELECT COMMITTEE TO                      :
INVESTIGATE THE JANUARY 6                :
ATTACK ON THE UNITED STATES              :
CAPITOL;                                 :
                                         :   :
NANCY PELOSI, in her official            :
capacity as Speaker of the U.S.          :
House of Representatives;                :
                                         :
BENNIE G. THOMPSON, in his official :
capacity as Chair of the Select          :
Committee To Investigate the January :
6th attack on the United States Capitol; :
                                         :
ELIZABETH L. CHENEY, in her official :
Capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
ADAM B. SCHIFF, in his official          :
Capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
JAMES B. RASKIN, in his official         :
Capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
SUSAN E. LOFGREN, in her official        :
capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
ELAINE G. LURIA, in her official         :
capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
PETER B. AGUILAR, in his official        :
capacity as a member of the U.S.         :
House of Representatives;                :
         Case 1:21-cv-03316-RJL Document 6-1 Filed 02/15/22 Page 2 of 7




STEPHANIE MURPHY, in her official         :
Capacity as a member of the U.S.          :
House of Representatives;                 :
                                          :
ADAM D. KINZINGER, in his official        :
capacity as a member of the U.S.          :
House of Representatives;                 :
                                          :
              Defendants.                 :      FEBRUARY 15, 2022

   STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
  AMEND COMPLAINT AND JOIN TIM ENLOW PURSUANT TO FRCP 15 AND 20

       The Plaintiff, Alex Emric Jones, and Timothy D. Enlow submit this statement of

points and authorities in support of their motion to amend the complaint and join Tim

Enlow as a plaintiff to this action pursuant to Fed. R. Civ. P. 15 and 20. This relief is

particularly appropriate here as the Defendants have targeted Enlow to gain information

and documents that they could not obtain from Jones in a Congressional investigation

that bears the hallmarks of a federal prosecutorial investigation rather than a legitimate

legislative inquiry. Adding to the compelling necessity for relief is that Enlow is an

employee of Jones’ media company – Free Speech Systems, LLC – and the Defendants’

targetting of Enlow seeks information documents that the Defendants have been unable

to obtain from Jones as he asserts his constitutional rights.

                                      Background

       On January 6, 2021, supporters of then-President Donald Trump gathered in

protest of the certification of the Electoral College votes that would confirm President

Joseph Biden as the next president of the United States. Dkt. 1., ¶ 19. A large group of

protestors entered the United States Capitol, breached security, and disrupted the

counting of Electoral College votes until order was restored. Id. The United States
         Case 1:21-cv-03316-RJL Document 6-1 Filed 02/15/22 Page 3 of 7




Department of Justice charged more than 500 individuals for their activities on January

6, 2021, including an employee of the Plaintiff Alex Jones – Owen Shroyer. Id.

       Unsatisfied with these prosecutions, the House of Representatives created the

Defendant Select Committee to investigate the events of January 6, 2021, which it

characterized as an act of domestic terrorism. Id. at ¶¶ 20-24. From its inception, the

Defendants made clear that the Select Committee was primarily interested in securing

individual determination of guilt or innocence – an objective that the Constitution squarely

reserves for the Article II executive and the Article III judiciary. Id. at ¶¶ 43-44.

       On November 22, 2021, the Defendants issued a subpoena to Alex Jones ordering

him to produce documents to the Select Committee by December 6, 2021 and to testify

at a deposition on December 18, 2021. Id. at ¶ 55. Jones raised a number of constitutional

objections to both the deposition subpoena and the document subpoena, but he offered

to submit documents and answer written questions with written responses. Id. at ¶ 57. He

subsequently provided limited document production and asserted his constitutional right

to remain silent at a rescheduled deposition.

       Concurrently to its November 22, 2021 subpoena to Jones directly, the Defendants

issued a subpoena to AT&T seeking virtually every phone call and text that Jones made

between November 1, 2020 and January 31, 2021. Id. at ¶ 61. Jones initiated this action

to prevent AT&T from producing his communications and to forestall any attempt by the

Defendants to hold him in criminal contempt of the House of Representatives. Upon

information and belief, AT&T did not produce Jones’ communications to the House of

Representatives because of this lawsuit.
          Case 1:21-cv-03316-RJL Document 6-1 Filed 02/15/22 Page 4 of 7




       Frustrated by Jones’ efforts to protect his constitutional rights, the Defendants

employed a tactic that they have used throughout the Select Committee’s proceedings.

They issued a subpoena for the communications of one of Jones’ employees, Tim Enlow,

who they assumed was less financially able to defend himself against the subpoena. The

purpose of this subpoena was to obtain, by third-party disclosure, the communications

that Jones had refused to produce to the Select Committee and sought this Court’s

intervention to protect his constitutional rights. See Exhibit A – Proposed Amended

Complaint, ¶ 69.

       Alex Jones owns a media company named Free Speech Systems, LLC. See

Exhibit A – Proposed Amended Complaint, ¶ 2. Free Speech Systems, LLC has

employed Tim Enlow as a security operations manager since December 2018. Id. at ¶ 3.

On February 9, 2022, Enlow received a notice from AT&T informing him that the

Defendants had subpoenaed his AT&T communications and that it would produce them

to the Defendants by February 23, 2022 unless he presented them with a legal filing that

asserted his rights against the production. Id. at ¶ 68.

                                        Argument

       Fed. R. Civ. P. 15(a)(2) permits a party to amend its pleading with the Court’s

leave, and it instructs courts to freely give leave to amend when justice requires

amendment. Tim Enlow seeks to join this lawsuit as a plaintiff, and Plaintiff Jones seeks

to amend his complaint both to add Enlow as a party and to elaborate on their identical

claims.

       Fed. R. Civ. P. 21 permits the Court to add a party on a party’s motion. Fed. R.

Civ. P. 20(a)(1) allows the joinder of a plaintiff if he “assert[s] any right to relief… with
           Case 1:21-cv-03316-RJL Document 6-1 Filed 02/15/22 Page 5 of 7




respect to or arising out of the same transaction, occurrence, or series of transactions or

occurrences; and any question of law or fact common to all plaintiffs will arise in the

action.”

       This test has two prongs. First, courts examine whether the plaintiffs’ claims bear

a logical relation to each other. See Malibu Media, LLC v. Does 1-11, 286 F.R.D. 113,

115 (D.D.C. 2012). “The logicial relationship test is flexible because the imuplse is toward

entertaining the broadest possible scope of action consistent with fairness to the parties;

joinder of claims, parties and remedies is strongly encouraged.” Disparte v. Corporate

Executive Bd., 223 F.R.D. 7, 10 (D.D.C. 2004) (quoting United Mine Workers of America

v. Gibbs, 383 U.S. 715, 724 (1966)) (internal quotation marks omitted). Second, courts

look for some common question of law or fact as to all of the plaintiffs’ claims, but do not

require all legal and factual issues to be common to all the plaintiffs. Id. at 11.

       Jones and Enlow meet these requirements with ease. First, Jones and Enlow claim

that the subpoena issued to obtain Enlow’s communications was merely a backdoor to

obtain Jones’ communications in the face of pending litigation seeking to protect those

communications from the Defendants’ eyes. Given the broad scope of the Defendants’

investigation and their goals in pursuing information and documents from Jones and

Enlow, there is a clear logical relationship between their claims because the Defendants

seek to use Enlow as a gateway to Jones’ communications regarding the events of

January 6, 2021 and suspect Enlow of being involved as well. Rendering this relationship

even more logical and clear is the New York Times’ identification of “link-analysis” – an

intelligence method reserved for terrorists – in the Defendants’ investigation and its use
         Case 1:21-cv-03316-RJL Document 6-1 Filed 02/15/22 Page 6 of 7




to obtain information and documents in the face of legal action to prevent them from doing

so. Exhibit A – Proposed Amended Complaint, ¶ 69.

       Second, as indicated by their proposed amended complaint that includes Enlow’s

claims, Enlow states claims identical to Jones’ claims with respect to AT&T subpoenas

and the potential to be held in criminal contempt of Congress. In other words, the Court’s

resolution of the legal questions for Jones’ claims will resolve the legal questions for

Enlow’s claims.

       Thus, permitting Jones to amend his complaint and Enlow to join it as proposed in

Exhibit A will serve the interests of justice and judicial economy by consolidating identical

legal claims arising from the same series of facts into one action.

       Finally, the Defendants have not yet appeared, and they will not be prejudiced by

the amending of the complaint and the adding of Enlow as a plaintiff. They will have ample

time to respond, and neither Jones or Enlow will object to their request to file a motion for

a reasonable extension of time to file responsive pleadings.

                                        Conclusion

       For the foregoing reasons, Jones and Enlow ask the Court to permit them to file

the attached amended complaint (Exhibit A) adding Enlow as a party.

                                                         THE PLAINTIFF, ALEX EMRIC
                                                         JONES, and TIM ENLOW

                                                         /s/ Norman A. Pattis /s/
                                                         NORMAN A. PATTIS, ESQ.
                                                         PATTIS & SMITH, LLC
                                                         383 Orange Street
                                                         New Haven, CT 06511
                                                         Tel: (203) 393-3017
                                                         Fax: (203) 393-9745
                                                         npattis@pattisandsmith.com
         Case 1:21-cv-03316-RJL Document 6-1 Filed 02/15/22 Page 7 of 7




                             CERTIFICATION OF SERVICE

       The undersigned hereby certifies that, on February 15, 2022, a copy of the

foregoing was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by email to all parties of record by

operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing. Parties may access this filing through the Court’s system.



                                                 /s/ Norman A. Pattis /s/
